          Case 4:20-cv-03919-CW          Document 595-1        Filed 01/17/25     Page 1 of 2




 1 DOHA MEKKI
   Acting Assistant Attorney General
 2 MICHAEL B. KADES
   JOHN W. ELIAS
 3 Deputy Assistant Attorneys General
   DAVID B. LAWRENCE
 4 Policy Director
   RYAN DANKS
 5 Director of Civil Enforcement
   MIRIAM R. VISHIO
 6 Deputy Director of Civil Enforcement
   YVETTE F. TARLOV
 7 Chief, Media, Entertainment, and Communications Section
   JARED A. HUGHES
 8 Assistant Chief, Media, Entertainment, and Communications Section
   ERIC D. DUNN (CSBN 312513)
 9 Assistant Chief, Competition Policy and Advocacy Section
   ANDREW L. KLINE
10 Counsel to the Assistant Attorney General

11 JAMES H. CONGDON
   Trial Attorney
12 U.S. Department of Justice, Antitrust Division
   450 Fifth St, N.W., Suite 7000
13 Washington, DC 20530
   Telephone: (202) 538-3985
14 james.congdon@usdoj.gov

15
                                    UNITED STATES DISTRICT COURT
16
                                 NORTHERN DISTRICT OF CALIFORNIA
17
                                            OAKLAND DIVISION
18
      IN RE: COLLEGE ATHLETE NIL                           Case No. 4:20-cv-03919-CW
19    LITIGATION

20                                                         DECLARATION OF JAMES H.
                                                           CONGDON IN SUPPORT OF
21                                                         STATEMENT OF INTEREST OF
                                                           UNITED STATES OF AMERICA
22
                                                           Hon. Claudia Wilken
23

24      I, James H .Congdon, declare as follows:
25          1.     I am an attorney with the Antitrust Division of the United States Department of Justice. I
26
     am a member in good standing of the bar of the State of New York. I have personal knowledge of the
27

28

     CONGDON DECLARATION ISO STATEMENT OF INTEREST OF UNITED STATES OF AMERICA
     CASE NO. 4:20-CV-03919-CW                 1
           Case 4:20-cv-03919-CW          Document 595-1        Filed 01/17/25      Page 2 of 2




 1 matters discussed in this Declaration. If called upon as a witness in this action, I could and would testify

 2 competently thereto.

 3
            2.     Attached as Exhibit 1 is a true and correct copy of an email from Rakesh Kilaru on behalf
 4
     of the NCAA and Conference Defendants, dated January 14, 2025.
 5

 6          I declare under penalty of perjury under the laws of the United States that the above is true and
 7 accurate to the best of my information, knowledge, and belief. Executed this 17th day of January, 2025,

 8 in Washington, DC.

 9                                                        /s/ James H. Congdon
                                                          James H. Congdon
10                                                        Trial Attorney
                                                          Antitrust Division
11                                                        United States Department of Justice
                                                          450 Fifth Street NW
12                                                        Washington, DC 20530
                                                          Telephone: (202) 538-3985
13                                                        james.congdon@usdoj.gov
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     CONGDON DECLARATION ISO STATEMENT OF INTEREST OF UNITED STATES OF AMERICA
     CASE NO. 4:20-CV-03919-CW                 2
